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                  Exhibit D
              Case 3:20-cv-04377-JD Document 1-4 Filed 06/30/20 Page 2 of 23
                                                                                                                Hogan Lovells International LLP
                                                                                                                Alstertor 21
                                                                                                                20095 Hamburg
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                                                                                                                F +49 40 419 93 200
                                                                                                                www.hoganlovells.com


In advance by email:                                                                                            Mareike Hunfeld, LL.M (UCL)
legal@splunk.com                                                                                                Rechtsanwältin
ncmartin@splunk.com
                                                                                                                Phone: +49 (0) 40 419 93-310
                                                                                                                mareike.hunfeld@hoganlovells.com
By courier:
Splunk Inc.                                                                                                     Our ref                 1564135
250 Brannan Street                                                                                              File no.                1JD776.003884
San Francisco, CA 94107
USA                                                                                                             12 February 2020

and

Splunk Services Germany GmbH
Salvatorplatz 3
80333 München
Germany


UNLAWFUL USE OF M AGENTA BY SPLUNK INC. – DEADLINE TO REPLY: 20 FEBRUARY 2020

Dear Sir or Madam,

We are contacting you on behalf of our client, Deutsche Telekom AG (DTAG), established in
Bonn, Germany, with respect to your use of the colour Magenta in connection with your company
and your software, both called "Splunk", as well as the associated website www.splunk.com and
the Splunk app. Since the direct contact between DTAG and Splunk Inc. did not lead to a fruitful
exchange, we as lawyers now write to you.

1.           As you may know, DTAG is one of the world's leading telecommunications and
             information technology companies with a presence in around fifty countries worldwide.
             The colour Magenta is the core element of DTAG's corporate identity and one for which it
             is very well-known. Our client, as well as its affiliated companies, uses Magenta as a
             distinctive sign for its entire range of goods and services. Due to the intensive use of the
             colour Magenta in all company communications and in all advertising materials in
             Germany, elsewhere in the EU and worldwide, the colour Magenta has become a unique
             and well-known identifier for the goods and services of DTAG.

             The intensive use of Magenta by DTAG is illustrated by the following examples:




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of business: Atlantic House, Holborn Viaduct, London EC1A 2FG. The Hamburg branch office is registered with Amtsgericht Hamburg under number PR 1144.

"Hogan Lovells" is an international legal practice that includes Hogan Lovells International LLP and Hogan Lovells US LLP, with offices in: Alicante Amsterdam Baltimore
Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf Frankfurt Hamburg Hanoi Ho Chi Minh City Hong Kong Houston Johannesburg
London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey Moscow Munich New York Northern Virginia Paris Perth Philadelphia
Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington, D.C. Associated Offices: Budapest Jakarta Riyadh
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Hogan Lovells, the partners and their qualifications, see www.hoganlovells.com.
        Case 3:20-cv-04377-JD Document 1-4 Filed 06/30/20 Page 3 of 23
Splunk Inc.                                      -2-                           12 February 2020


2.     DTAG and its affiliates offer a wide range of telecommunication and information
       technology products to private and corporate customers in Germany, other countries of
       the EU and worldwide.

3.     As you probably know, one of the best known subsidiaries of DTAG is T-Systems. With
       locations in over 20 countries, 37,500 employees, and an external turnover of 6.9 billion
       euros (2018), T-Systems is one of the world-leading cross-manufacturer digital service
       providers. T-Systems offers integrated solutions for corporate customers. T-Systems
       offers everything from one source: from secure operation of existing systems and
       conventional IT and telecommunication services to transformation into the cloud, including
       international networks. From demand-oriented infrastructure, platforms, and software,
       down to new business models and innovation projects in the Internet of Things. The basis
       for this is the global reach of landline and mobile communications, high-security data
       centers, a comprehensive cloud ecosystem with standardized platforms, worldwide
       partnerships, and the highest security.

       For more information, please visit the homepage of T-Systems: www.t-systems.com.

       T-Systems uses Magenta as intensively as DTAG, as the following examples illustrate:




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4.     DTAG owns various trademark registrations worldwide to protect its Magenta colour
       trademark, including the European Union trademark registration EUTM 212787 and
       German trademark registrations DE 39864846 and DE 39552630, which inter alia cover

                 "computer programming",

                 "Database services, namely collecting and delivering data, messages and
                  information" as well as

                 "Rental of data processing equipment and computers"

       in class 42 of the nice classification.

       DTAG's Magenta colour mark is depicted below:




       We enclose copies of these registrations for your reference.

       Therefore, the colour Magenta is protected for DTAG in accordance with Article 9 para 2
       lit. a and lit. b of the Regulation on the European Union Trademark as well as Section 14
       para 2 no. 1 and no. 2 of the German Trademark Act. Moreover, the colour Magenta is
       protected as a business identifier pursuant to Section 5 para 2 and Section 15 para 2 and
       3 of the German Trademark Act as well.

       In addition, the colour Magenta enjoys protection as a trademark having a reputation
       according to Article 9 para 2 lit. c of the Regulation on the European Union Trademark
       and Section 14 para. 2 no. 3 of the German Trademark Act.

       Finally, Magenta is a protected business identifier pursuant to Section 15 para. 2 and 3 of
       the German Trademark Act as well.




                                                                                       Hogan Lovells
        Case 3:20-cv-04377-JD Document 1-4 Filed 06/30/20 Page 5 of 23
Splunk Inc.                                    -4-                              12 February 2020


5.     It has come to the attention of our client that Splunk Inc. (Splunk) uses intensively the
       colour Magenta (and barely noticeably Orange) to mark their goods and services.

       As far as we know, Splunk produces software for searching, monitoring, and analysing
       machine-generated data. The software by Splunk, inter alia, seems to capture, index, and
       correlate real-time data in a searchable repository from which it can generate graphs,
       reports, alerts, dashboards, and visualizations. Therefore, Splunk seems to offer primarily
       database services, namely the collecting and delivering of data.

       Splunk uses Magenta intensively on their website, for their app called "Splunk Mobile" as
       well as on social media. Furthermore, Magenta is also intensively used for brochures and
       other advertising measures online as well as offline.

       The following examples demonstrate the dominant use of Magenta by Splunk:

              a) Website: www.splunk.com




              b) App icon: Splunk Mobile (iOS and Android)




                         iOS version                               Android version


                                                                                       Hogan Lovells
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Splunk Inc.                                    -5-                             12 February 2020


              c) Social media: logo (Facebook, Twitter, Instagram, YouTube & LinkedIn)




              d) Social media: content (Facebook & Instagram)




                                                                                     Hogan Lovells
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Splunk Inc.                                   -6-                    12 February 2020


              e) Brochures (Splunk Prognosen für 2020 [in German])




                                                                           Hogan Lovells
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Splunk Inc.                                       -7-                     12 February 2020


              f)   Further advertising measures (found on the internet)




                                                                                Hogan Lovells
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Splunk Inc.                                       -8-                              12 February 2020


6.     The use by Splunk of a colour identical to or at least confusingly similar to Magenta for the
       website and the app as well as on social media and for further advertising measures
       infringes our client's Magenta colour marks. In more detail:

             The use by Splunk of the colour Magenta or a highly similar colour creates a
              likelihood of confusion and therefore infringes DTAG's Magenta trademark rights
              pursuant to Article 9 para 2 lit. b of the Regulation on the European Union Trademark
              as well as Section 14 para 2 no. 2 of the German Trademark Act.

             Splunk uses Magenta as an indication of origin for their goods and services and not
              only for decorative purposes. This is obvious from the intensive, recurring and
              extremely prominent use of Magenta as well as from the fact that the Splunk logo can
              be found almost without exception on a background in Magenta. With regard to the
              logo, the general public generally perceives the colour of a corporate logo as a
              distinctive element of the corporate identity. This is true despite the minimal use of
              orange. At most, the use of orange has the character of a creative effect or suggests
              a cooperation with DTAG.

             The relevant public will not be able to distinguish the colour used by Splunk from the
              Magenta colour widely used by and protected for DTAG. In this regard, it has to be
              kept in mind that a consumer cannot compare both colours directly but has to rely on
              his memory (see CJEU, Decision of 5 May 2003, C- 104/01, par. 47 – Libertel).

             Moreover, Splunk uses Magenta for services which are identical or at least highly
              similar to the services that are protected by DTAG's Magenta marks. In addition, there
              is an obvious business overlap, since Splunk and our client both provide services in
              connection with the collecting and delivering of data (database services). Therefore,
              consumers will be misled that there is an organisational or economic connection
              between Splunk and our client.

             Furthermore, the Magenta colour marks enjoy a reputation in Germany and other
              countries of the European Union pursuant to Article 9 para 2 lit. c of the Regulation on
              the European Union Trademark and Section 14 para. 2 no. 3 of the German
              Trademark Act. The use by Splunk of the colour Magenta or a colour highly similar to
              Magenta takes unfair advantage of, and is detrimental to, the distinctive character and
              the repute of the Magenta trademarks.

             In addition, the use by Splunk of Magenta constitutes an infringement of our client's
              protected business identifier pursuant to Section 15 para. 2 and 3 of the German
              Trademark Act.

             With regard to the German trademarks, there is a necessary commercial effect, inter
              alia due to the fact that the website and the app are available in Germany.

                                                                                            Hogan Lovells
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Splunk Inc.                                   -9-                               12 February 2020


7.     The intensive use of the colour Magenta by Splunk raises our client's concerns. Our client
       is particularly concerned that Splunk is apparently aware of the fact that Magenta is a
       prior trademark of DTAG, but uses the colour anyway. In particular, Splunk uses generally
       the same website design and colouring for the different language versions of their
       website. Only the German website of Splunk has slightly less Magenta, as illustrated
       below. This suggests that Splunk knows exactly that Magenta is associated with DTAG.

               Japanese                        German                           French




8.     To make it worse, if you open the website of Splunk with the Internet Explorer, the
       website is nothing but Magenta, even in the German language version.




9.     Furthermore, Splunk started to use Magenta only recently. Up to and including the year
       2019, Splunk still used green and blue as their corporate colours, as illustrated below. We
       cannot see any other reason to change to Magenta, a colour that is widely known in the
       relevant market as a trademark of DTAG, than intending to make a conscious reference
       to DTAG.




                                                                                       Hogan Lovells
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Trademark
Trademark No                       EM00212787
--                                 --



Legal status                       Registered - cancellation pending
Language of application            First DE, Second EN
--                                 --



Type                               Colour mark
                                   Colour claimed
--                                 --



Entry date EUIPO                   10.04.1996
Filing date                        01.04.1996
Notification date                  24.01.2000
Registration date                  03.08.2000
Publication date                   18.09.2000
Expiry date                        01.04.2026
Renewal date                       07.05.2006
polymark date                      polymark update 02.12.2019
--                                 --



Colours                            Magenta (RAL 4010 telemagenta)
--                                 --



Nice classification                38, 42
Vienna classification              29.01.11, 29.01.99
--                                 --



Owner                              Deutsche Telekom AG, Friedrich-Ebert-Allee 140, 53113 Bonn, DE
Agent                              HOGAN LOVELLS INTERNATIONAL LLP, Alstertor 21, 20095 Hamburg, DE
--                                 --



Goods & Services                   38 Telecommunications; rental of telecommunication equipment; information
                                      about telecommunication; rental of message sending apparatus;
                                      telecommunications value-added services included in class 38, namely
                                      telecommunications services with above-average utility providers;
                                      telecommunication services for others; all the aforesaid services including
                                      related information and consultancy services; none of the afore-
                                      mentioned services including news agencies.
                                   42 Designing installations and equipment for telecommunications.

History
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Publ.Date
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                  Bulletin         Text


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Publ.Date
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                  Bulletin         Text
24.01.2000 2000/007                Part A. 1 - CTM applications published under Article 40 of the CTMR
18.09.2000 2000/074                Part B. 1 - Registrations with no amendments since the application was
                                   published
28.11.2003                         Change of legal status to: Registration published
10.07.2006        2006/028         Part D. 1 - Renewals
12.03.2007        2007/010         Part C. 4.1 - Licences granted
02.04.2007        2007/013         Part C. 3.6 - Trade mark - International trade mark
16.04.2007        2007/015         Part C. 2.4 - Deletion of the representative
23.04.2007                         Change of legal status to: Cancellation pending
02.07.2007        2007/030         Part C. 2.3 - Appointment of a new representative
27.08.2007        2007/045         Part C. 2.2 - Replacement of the representative
29.10.2007        2007/060         Part C. 2.1 - Representative - Change of name and professional address
05.11.2007        2007/061         Part B. 4.2 - Relative errors
05.05.2008        2008/018         Part C. 9.1 - Applications for revocation or for a declaration of invalidity
26.05.2008        2008/021         Part C. 9.1 - Applications for revocation or for a declaration of invalidity
18.08.2008        2008/033         Part C. 2.2 - Replacement of the representative
06.10.2008        2008/040         Part C. 9.1 - Applications for revocation or for a declaration of invalidity
02.02.2009        2009/004         Part C. 2.2 - Replacement of the representative
20.07.2009        2009/027         Part C. 9.3 - Counterclaims for revocation or for a declaration of invalidity
28.01.2010                         Change of legal status to: Registration published
10.05.2010        2010/084         Part C. 2.1 - Representative - Change of name and professional address
02.08.2010        2010/141         Part C. 9.2 - Decisions on applications for revocation or for a declaration of
                                   invalidity
30.04.2012                         Change of legal status to: Cancellation pending
18.02.2013 2013/034                Part C. 9.2 - Decisions on applications for revocation or for a declaration of
                                   invalidity
31.03.2016        2016/060         Part D. 1 - Renewals
16.01.2018        2018/010         Part C. 2.2 - Replacement of the representative
21.02.2018        2018/036         Part C. 3.2 - Trade mark - Partial surrender
25.10.2019        2019/204         Part C. 9.1 - Applications for revocation or for a declaration of invalidity




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Trademark
Trademark No                       DE39864846
--                                 --



File number of                     398648468
application
Legal status                       Registered
--                                 --



Type                               Colour mark
                                   Coloured
--                                 --



Filing date                        04.11.1998
Registration date                  21.11.2002
Publication date                   03.01.2003
Renewal date                       01.12.2008
polymark date                      polymark update 14.01.2019
--                                 --



Colours                            magenta
--                                 --



Nice classification                09, 16, 36, 37, 38, 41, 42
Vienna classification              26.04.02, 29.01.01
--                                 --



Owner                              Deutsche Telekom AG, 53113 Bonn, DE
Agent                              Hogan Lovells International LLP, 20095 Hamburg, DE
Address of                         Hogan Lovells International LLP, Alstertor 21, 20095 Hamburg
correspondence
--                                 --



Goods & Services                   Electric, electronic, optical, measuring, signaling, checking or teaching
[English - computerised            apparatus and instruments (included in class 9); Apparatus for recording,
translation:]                      transmission, processing and reproduction of sound, images or data;
                                   machine-readable data record carriers; Mechanisms for coin-operated
                                   apparatus; Data processing equipment and computers; Printed matter,
                                   namely telephone directories and other directories for telecommunications;
                                   Finance; Real estate affairs; Building construction; Installation, maintenance
                                   and repair of telecommunications equipment; Telecommunications;
                                   Operating and rental of telecommunications equipment, in particular radio
                                   and television; Education; Training; Entertainment; Organization of sporting
                                   and cultural events; Publication of books, periodicals and other printed
                                   matter and related electronic media (including CD-ROMs and CD-I's);
                                   Computer programming; Database services, namely, leasing access time to
                                   and operating databases, and collecting and delivering data, messages and



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                                   information; Rental of data processing equipment and computers; Design
                                   and planning of telecommunications equipment

History
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Publ.Date
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                  Part             Text
03.01.2003        1a               Publication of registration Main class: 38
17.04.2003        8b               Change of agent details
23.05.2003        2a               Oppositon period expired, no opposition
28.11.2003        5a               Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
09.01.2004 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
30.04.2004 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
01.10.2004 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
18.02.2005 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
26.10.2007 8b                      Change of agent details
                                   Former name or address of agent: "Kanzlei Mayer, Brown, Rowe & Maw LLP,
                                   Frankfurt"
19.09.2008 8b                      Change of agent details
                                   Former name or address of agent: "Kanzlei Mayer Brown LLP, Frankfurt"
29.05.2009 4                       Renewal on 01.12.2008
11.06.2010 8b                      Change of agent details
                                   Former name or address of agent: "Lovells LLP, 20095 Hamburg"
16.11.2012 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
27.09.2013 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
11.01.2019 4                       Renewal on 01.12.2018
           5g                      Partial deletion upon declaration of the owner as from 01.12.2018




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Trademark
Trademark No                       DE39552630
--                                 --



File number of                     395526302
application
Legal status                       Registered
--                                 --



Type                               Colour mark
                                   Coloured
--                                 --



Filing date                        27.12.1995
Registration date                  12.09.2000
Publication date                   07.12.2000
Renewal date                       01.01.2006
polymark date                      polymark update 01.03.2019
--                                 --



Colours                            magenta
--                                 --



Nice classification                09, 16, 37, 38, 42
Vienna classification              26.04.05, 29.01.01
--                                 --



Owner                              Deutsche Telekom AG, 53113 Bonn, DE
Agent                              Hogan Lovells International LLP, 20095 Hamburg, DE
Address of                         Hogan Lovells International LLP, Alstertor 21, 20095 Hamburg
correspondence
--                                 --



Goods & Services                   Apparatus for recording, transmission, processing and reproduction of
[English - computerised            sound, images or data for telecommunications; Printed matter, namely
translation:]                      telephone directories and other directories for telecommunications;
                                   Installation, maintenance and repair of telecommunications equipment;
                                   Telecommunications; Rental of telecommunications equipment; Rental of
                                   apparatus for recording, transmission, processing and reproduction of sound,
                                   images or data for telecommunications; Rental of access time to databases
                                   in the form of providing access to the Internet, for others (online service and
                                   Internet service providers) and providing content accessible via the Internet;
                                   Design and planning of telecommunication facilities

History
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Publ.Date
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                  Part             Text
12.10.2000 1a                      Publication of registration Main class: 38
07.12.2000 1ab                     New publication of registration
           8e                      Corrections, other changes
                                   "Die Veröffentlichung im Markenblatt Teil 1a aa) (Heft 41/2000) ist aufgrund
                                   der fehlerhaften Wiedergabe der Bildmarke ungültig. Mit der
                                   Neuveröffentlichung in Teil 1a bb) beginnt die Widerspruchsfrist erneut zu
                                   laufen."
05.04.2001 8e                      Corrections, other changes
                                   "Der Bestandteil 'sonstige Markenform' tritt hinzu."
22.11.2002 8b                      Change of agent details
21.11.2003 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
09.01.2004 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
30.04.2004 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
01.10.2004 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
                                   Legal basis: Invalidity because of absolut grounds for refusal of protection (§
                                   50 MarkenG)
18.02.2005 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
27.05.2005 4                       Renewal on 01.01.2006
04.01.2008 2a                      Oppositon period expired, no opposition
           8b                      Change of agent details
09.04.2010 8b                      Change of agent details
                                   Former name or address of agent: "Mayer Brown LLP, 60323 Frankfurt"
11.06.2010 8b                      Change of agent details
                                   Former name or address of agent: "Lovells LLP, 20095 Hamburg"
03.02.2012 5a                      Third party request of cancellation of a registered trademark according to §
                                   50 MarkenG
27.09.2013 5c                      Cancellation proceedings upon request of a third party closed according § 50
                                   MarkenG (no effect to the trademark)
04.09.2015 4                       Renewal on 01.01.2016




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                           CEASE AND DESIST DECLARATION

Splunk Inc., 250 Brannan Street, San Francisco, CA 94107, USA

                                            as well as

Splunk Services Germany GmbH, Salvatorplatz 3, 80333 München, Germany

                     hereby undertake as joint and several debtors towards

Deutsche Telekom AG, Friedrich Ebert-Allee 140, 53113 Bonn, Germany

as follows:

1. to cease and desist from using and/or allowing any subsidiary, affiliated or other company to
   use the colour Magenta or any colour similar thereto in the course of business for goods and
   services in relation to computer programming as well as the collecting and delivering of data
   (database services), including, but not limited to, software, such as the "Splunk" software, as
   well as apps, such as the "Splunk Mobile" app. This undertaking applies to all member states
   of the European Union, in particular, but not limited to the colour use as depicted below:

        a. Website (www.splunk.com)




                                                                                       Hogan Lovells
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b. App (Splunk Mobile)




c. Social media: logo (Facebook, Twitter, Instagram, YouTube & LinkedIn)




                                                                           Hogan Lovells
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d. Social media: content (Facebook & Instagram)




                                                            Hogan Lovells
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e. Brochures




                                                            Hogan Lovells
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f.   Advertising measures offline as well as online




                                                            Hogan Lovells
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2. for each future infringement of clause 1 above, to pay to Deutsche Telekom AG a penalty of a
   reasonable amount, minimum 5,001 Euro, to be determined by Deutsche Telekom AG in
   each individual case. The amount of the penalty, if contested by Splunk Inc. or the Splunk
   Services Germany GmbH, shall be made subject to judicial review of the Regional Court
   Hamburg. The payment of such penalty is not to be understood as a waiver of any rights
   Deutsche Telekom AG may have and shall not be counted towards any damages to which
   Deutsche Telekom AG may be entitled.

All disputes arising in connection with this declaration shall be subject to German as well as
applicable EU law and the jurisdiction of the competent courts of Hamburg.




Splunk Inc.                                        Splunk Services Germany GmbH


…………………………………………………….                              …………………………………………………….
Place/date                                         Place/date


…………………………....................................     …………………………....................................
Print name                                         Print name


…………………………....................................     …………………………....................................
Function                                           Function


…………………………....................................     …………………………....................................
Signature                                          Signature




                                                                                          Hogan Lovells
